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                                 123117



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND                                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2570




This Document Relates to Plaintiff(s)
ALBERT WADDLE
               1:21-cv-06545-RLY-TAB
Civil Case #



                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaints against Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:
           Albert Waddle

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:
           N/A

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
           N/A

       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:
           Ohio



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      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:
          Ohio

      6. Plaintiff’s/Deceased Party’s current state of residence:
          Ohio




      7. District Court and Division in which venue would be proper absent direct filing:
          United States District Court, Southern District of Ohio, Cincinnati Division




      8. Defendants (Check Defendants against whom Complaint is made):

             Ƒ✔      Cook Incorporated

             Ƒ✔      Cook Medical LLC

             Ƒ✔      William Cook Europe ApS

      9. Basis of Jurisdiction:

             Ƒ✔      Diversity of Citizenship

             Ƒ       Other:

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
          Paragraphs 1-28




         b. Other allegations of jurisdiction and venue:
          N/A




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      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

             Ƒ
             ✔       Günther Tulip® Vena Cava Filter

             Ƒ       Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye
                     Cook Celect Platinum
                     Other:
             ___________________________________________________________
      11. Date of Implantation as to each product:
         January 30, 2009
         _____________________________________________________________________

         _____________________________________________________________________

      12. Hospital(s) where Plaintiff was implanted (including City and State):
         The Christ Hospital - Cincinnati, OH
         _____________________________________________________________________

         _____________________________________________________________________

      13. Implanting Physician(s):
         Jeffrey Standley, M.D.
         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

      14. Counts in the Master Complaint brought by Plaintiff(s):

             Ƒ✔      Count I:        Strict Products Liability – Failure to Warn

             Ƒ✔      Count II:       Strict Products Liability – Design Defect

             Ƒ✔      Count III:      Negligence

             Ƒ✔      Count IV:       Negligence Per Se

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             Ƒ✔      Count V:          Breach of Express Warranty

             Ƒ✔
                     Count VI:         Breach of Implied Warranty

             Ƒ✔      Count VII:        Violations of Applicable ________________ (insert State)

                     Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                     Practices

             Ƒ       Count VIII:       Loss of Consortium

             Ƒ       Count IX:         Wrongful Death

             Ƒ       Count X:          Survival

             Ƒ✔      Count XI:         Punitive Damages

             Ƒ       Other:            ___________________ (please state the facts supporting

                     this Count in the space, immediately below)

             Ƒ       Other:            ___________________ (please state the facts supporting

                     this Count in the space, immediately below)

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

      15. Attorney for Plaintiff(s):
         Benjamin A. Bertram
         _____________________________________________________________________

      16. Address and bar information for Attorney for Plaintiff(s):




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2345 Grand Boulevard, Suite 1925

Kansas City, Missouri 64108

Missouri Bar # 56945

                                   Respectfully submitted,

                                   BERTRAM & GRAF, L.L.C.

                                   /s/ Benjamin A. Bertram
                                   Benjamin A. Bertram, MO Bar #56945
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                                   Kansas City, MO 64108
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                                   benbertram@bertramgraf.com

                                   Counsel for Plaintiff
